        Case 8:25-cv-00951-PX         Document 216        Filed 07/07/25      Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


KILMAR ARMANDO
ABREGO GARCIA, et al.,                           *

        Plaintiffs,                              *
                                                             Civil Action No. 8:25-cv-00951-PX
   v.                                            *

KRISTI NOEM, Secretary,                          *
United States Department                         *
of Homeland Security, et al.,                    *

        Defendants.                             *
                                                *
                                               ***

                                             ORDER

        For the reasons stated on the record during today’s motions hearing, and in connection with

Plaintiffs’ Emergency Motion (ECF No. 203), it is hereby ORDERED that:

   1. Defendants shall designate one or more individuals who have personal knowledge, or will

        acquire such knowledge based on information reasonably available to Defendants, to

        testify on their behalf regarding the legal bases for their intended detention of Kilmar

        Abrego Garcia (“Abrego Garcia”) and anticipated efforts to remove him to a third country

        or to seek termination of his withholding of removal to El Salvador, if he is released from

        U.S. Marshal custody in United States v. Abrego Garcia, No. 3:25-cr-00115 (M.D. Tenn.).

        The testimony shall address, among other topics, the asserted lawful bases for detention,

        the nature and timing of any notice to be provided to Abrego Garcia, the location of any

        proposed custody or transfer, and the procedural steps Defendants intend to pursue.

   2. The Court will hold a hearing on Thursday, July 10, 2025, at 1:00 PM, during which the

        designated representative(s) shall appear for sworn testimony and be subject to



                                                 1
     Case 8:25-cv-00951-PX         Document 216       Filed 07/07/25     Page 2 of 2



     examination by Plaintiffs, Defendants, and the Court. By no later than 9:00 AM on the

     same day, Defendants shall advise the Court and Plaintiffs as to whom they expect to call

     as witnesses.

SO ORDERED.

     July 7, 2025                                              /S/
  Date                                                  Paula Xinis
                                                        United States District Judge




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